Case 1:14-ml-02570-RLY-TAB Document 12291-2 Filed 10/29/19 Page 1 of 5 PageID #:
                                   90587


                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                 Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                  MDL No. 2570
 ___________________________________________


           EXHIBIT B TO MOTION TO DISMISS DUPLICATIVE FILINGS
                  Case 1:14-ml-02570-RLY-TAB Document 12291-2 Filed 10/29/19 Page 2 of 5 PageID #:
                                                     90588



                           Exhibit B - Cook Filter - Duplicate Filing
                                                                  Complaint No. 2
Case Name                       Filing Date   Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                              Number
Benhart, David                  7/1/2019      1:19-cv-02692 Federal           Southern District   Gregory McEwen
                                                                              of IN
                                                                                                  McEwen Law Firm, Ltd

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Harrison, Darlene Miller        8/27/2019     1:19-cv-03645   Federal         Southern District Ben Martin
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Jenkins, Susan                  6/27/2019     1:19-cv-02614   Federal         Southern District   Jeff Seldomridge
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                                                                                                  THE MILLER FIRM LLC

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                  Case 1:14-ml-02570-RLY-TAB Document 12291-2 Filed 10/29/19 Page 3 of 5 PageID #:
                                                     90589



                         Exhibit B - Cook Filter - Duplicate Filing
                                                                    Complaint No. 2
Case Name                         Filing Date   Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                                Number
Katrausky, Patricia [ESTATE OF]   9/4/2019      1:19-cv-03755   Federal         Southern District David C. Degreef
                                                                                of IN
                                                                                                  Wagstaff & Cartmell,
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Keller, Douglas M. Jr.            6/27/2019     1:19-cv-02623   Federal         Southern District   Ben Martin
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Meddock, Teresa                   7/15/2019     1:19-cv-02893   Federal         Southern District   Laci Whitley
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                Case 1:14-ml-02570-RLY-TAB Document 12291-2 Filed 10/29/19 Page 4 of 5 PageID #:
                                                   90590



                      Exhibit B - Cook Filter - Duplicate Filing
                                                              Complaint No. 2
Case Name                   Filing Date   Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                          Number
Muff, Leonard               7/3/2019      1:19-cv-02728 Federal           Southern District   Charles Johnson
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Myers, Gregory Gene         8/1/2019      1:19-cv-03228   Federal         Southern District   Scott Seideman
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Royce, Mathew               9/14/2019     1:19-cv-03918   Federal         Southern District Matthew R. McCarley
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                     Case 1:14-ml-02570-RLY-TAB Document 12291-2 Filed 10/29/19 Page 5 of 5 PageID #:
                                                        90591



                         Exhibit B - Cook Filter - Duplicate Filing
                                                                   Complaint No. 2
Case Name                        Filing Date   Duplicate Cause Federal/State   Jurisdiction        Plaintiff Counsel
                                               Number
Ryan, John                       7/9/2019      1:19-cv-02825 Federal           Southern District   John Dalimonte
                                                                               of IN
                                                                                                   Dalimonte Rueb Law
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Seibert, Christine               9/5/2019      1:19-cv-03792   Federal         Southern District Brandon L. Rich
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Sims, Palmer Sr.                 6/24/2019     1:19-cv-02541   Federal         Southern District Charles H. Johnson
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